Case 5:20-cv-00612-NC Document 1-1 Filed 01/27/20 Page 1 of 6

EXHIBIT A

 
ed (72,293 unread) xX | @ iClouwd x | @ Cyclops Tattoo Xx (ff) Sweet cicaly Day, Xoo le bse IRE i DS cly (Oy Ate Sal ptieg o%/27/80 Argamugi Care X | & vangelis-Goog & | New Tab
= C oa. instagram.com/p/jxlISyHTP8/

sweettransam = Follow

sweettransam F yeah, who's gota
new toyl!!! Stranglehald!!

sweettransam F yeah
@elkhugs_vintage.. John traded a
rm mural on the way!

elkhugs_vintage Oh my god I'm
so jealous. That is baclassssss girl,

foe,

i? C) iT

30 likes

 

 

 

 

Join instagram,. com, p/636 PS50008/

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sweettransam = Follow

sweettransam Hahahahahha. Yep.

colfax_og @sweettransam check
out @vanner_babes

sweettransam Soo on it!

@mightypintor @vanner_babes

chimerasclaw Oh shit! It's like a
rainbow in the dark!

foe,

ry Ch

101 likes

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sweettransam = Follow

sweettransam This shit never gets old!

totalmidnight gd Gh a) gd ga) Ge cD

@Q hand up in the air forever @

 

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Cc @ instagram.com/p/BPo jHAK/

sweettransam = Follow

sweettransam |'ve been waiting for
days for this!

tonyfuckincampas Haha
perfectl!

maiden_califas Damn!!
awesome @

 

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@ ~% 4) 11/12/2019 FF
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< CG soa. instagram.com/p/ WBgM9/

sweettransam = Follow

sweettransam 9 Palms, 9 fake palms,
thanks for your "rustic" charm.

poopoozachy Have double fun
for us you crazy kids!
@woltaxewallace

tarita cha cha cha Gah jelly

oe

OQ Yh

153 likes

 

Www. instagram.com, p 148799140627

 

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